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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LARRY CARTER, LESLIE DAVIS, THE               CIVIL ACTION
ESTATE OF TIFFANY CAPERS-ALLEN
BY SHAWN ALLEN, ADMINISTRATOR,
SHARON AGBEDE, TIARA COUNCIL,
CATHERINE MACKEY-GAITHER,
GREGORY GARNER, JENNIFER                      NO.   18-cv-4404
JUBILEE, ROCHELLE MORRIS, and
KIMBERLY RODRIQUEZ,
               Plaintiffs,

          v.

CITY OF PHILADELPHIA,
               Defendant.



                                 ORDER


     AND NOW, this      17th             day of October, 2019, upon

consideration of Plaintiffs’ Motion for Summary Judgment (Doc.

No. 12) and Defendant’s Response in opposition thereto, it is

hereby ORDERED that the Motion is GRANTED and Judgment is

entered in favor of Plaintiffs and against Defendant City of

Philadelphia as a matter of law for the reasons set forth in the

preceding Memorandum Opinion.


                                         BY THE COURT:



                                         s/ J. Curtis Joyner

                                         __________________________
                                         J. CURTIS JOYNER,      J.

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